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                                     UNITED STATES BANKRUPTCY COURT
                                      FOR THE DISTRICT OF DELAWARE


    In re:                                                                   Chapter 11

    Peer Street, Inc., et al.1                                               Case No. 23-10815 (LSS)

             Debtors.                                                        (Jointly Administered)


                                      STATEMENT OF FINANCIAL AFFAIRS
                                            FOR PSF OHIO, LLC




____________________________________________
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 The Debtors in these chapter 11 cases, along with the last four digits of their respective federal tax identification
numbers, are: Peer Street, Inc. (8584); PS Funding, Inc. (3268); PeerStreet Licensing, Inc. (9435); Peer Street
Opportunity Fund GP, LLC (8491); Peer Street Funding LLC (9485); PSF REO LLC (1013); PS Options LLC (8584);
PS Warehouse, LLC (5663); PS Warehouse II, LLC (9252); Peer Street Opportunity Investors II, LP (1586); PS
Portfolio-ST1, LLC (1868); PSF Ohio, LLC (9485); PSF TX 1, LLC (9485); PSF TX 2, LLC (2415); PSF TX 4 LLC
(9485). The Debtors’ service address is c/o Province, LLC 2360 Corporate Circle, Suite 340, Henderson, NV 89074,
Attn: David Dunn, Chief Restructuring Officer.
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                                   IN THE UNITED STATES BANKRUPTCY COURT
                                        FOR THE DISTRICT OF DELAWARE


                                                                             Chapter 11

              Peer Street, Inc., et al.,1                                    Case No. 23-10815 (LSS)

                                       Debtors.                              (Jointly Administered)



                 GLOBAL NOTES AND STATEMENT OF LIMITATIONS, METHODOLOGY
                    AND DISCLAIMER REGARDING THE DEBTORS’ SCHEDULES OF
                 ASSETS AND LIABILITIES AND STATEMENTS OF FINANCIAL AFFAIRS

                         The above-captioned debtors and debtors in possession (each, a “Debtor,” and
         collectively, the “Debtors”) are filing their respective Schedules of Assets and Liabilities
         (collectively, the “Schedules”) and Statements of Financial Affairs (collectively, the
         “Statements,” and together with the Schedules, collectively, the “Schedules and Statements”) in
         the United States Bankruptcy Court for the District of Delaware (the “Court”). The Debtors, with
         the assistance of their professional advisors, prepared the Schedules and Statements in accordance
         with section 521 of title 11 of the United States Code, 11 U.S.C. §§ 101 – 1532 (the “Bankruptcy
         Code”), and Rule 1007 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”).

                       These Global Notes and Statement of Limitations, Methodology and Disclaimer
         regarding the Schedules and Statements (collectively, the “Global Notes”)2 pertain to, are
         incorporated by reference in, and compose an integral part of, all of the Schedules and Statements.
         These Global Notes should be referred to as part of, and reviewed in connection with, the
         Schedules and Statements.3

                        The Schedules and Statements have been prepared based on information provided
         by the Debtors’ Chief Restructuring Officer, other management personnel, and their professional
         advisors, and are unaudited and subject to potential adjustment. In preparing the Schedules and

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               Opportunity Fund GP, LLC (8491); Peer Street Funding LLC (9485); PSF REO LLC (1013); PS Options LLC (8584);
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               Portfolio-ST1, LLC (1868); PSF Ohio, LLC (9485); PSF TX 1, LLC (9485); PSF TX 2, LLC (2415); PSF TX 4 LLC
               (9485). The Debtors’ service address is c/o Province, LLC 2360 Corporate Circle, Suite 340, Henderson, NV 89074,
               Attn: David Dunn, Chief Restructuring Officer.
         2
               Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to such terms in the
               Declaration of David M. Dunn in Support of Chapter 11 Filing and First Day Pleadings [D.I. 3].
         3
               These Global Notes are in addition to any specific notes that may be contained in each of the Schedules or
               Statements. The fact that the Debtors have prepared a general note herein with respect to any of the Schedules
               and Statements and not to others should not be interpreted as a decision by the Debtors to exclude the applicability
               of such general note to the Debtors’ remaining Schedules and Statements, as appropriate.
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         Statements, the Debtors relied on financial data derived from their books and records that was
         available at the time of preparation. The Debtors have used commercially reasonable efforts to
         ensure the accuracy and completeness of such information and data; however, subsequent
         information, data, or discovery may result in material changes to the Schedules and Statements
         and inadvertent errors, omissions, or inaccuracies may exist. The Debtors and their estates reserve
         all rights to amend or supplement the Schedules and Statements as may be necessary and
         appropriate.

         Reservation of Rights. Nothing contained in the Schedules and Statements or these Global Notes
         shall constitute a waiver of any rights of the Debtors and their estates or an admission with respect
         to the Debtors’ chapter 11 cases, including, but not limited to, any issues involving objections to
         claims, setoff or recoupment, equitable subordination or recharacterization of debt, defenses,
         characterization or re-characterization of contracts, leases and claims, assumption or rejection of
         contracts and leases and/or causes of action arising under the Bankruptcy Code or any other
         applicable laws.

         Description of the Cases and “As of” Information Date. On June 26, 2023 (the “Petition
         Date”), each of the Debtors filed a voluntary petition for relief with the Court under chapter 11 of
         the Bankruptcy Code to conduct a sale process for substantially all of their assets pursuant to
         section 363 of the Bankruptcy Code. Pursuant to sections 1107(a) and 1108 of the Bankruptcy
         Code, the Debtors are continuing to manage their financial affairs as debtors in possession. Unless
         otherwise indicated herein or in the Schedules and Statements, all financial information for the
         Debtors in the Schedules and Statements and these Global Notes is provided as of the Petition Date
         or as close thereto as reasonably practicable under the circumstances.

         Basis of Presentation. The Schedules and Statements do not purport to represent financial
         statements prepared in accordance with Generally Accepted Accounting Principles (“GAAP”),
         nor are they intended to fully reconcile to any financial statements prepared by the Debtors.

         Recharacterization. Notwithstanding the Debtors’ commercially reasonable efforts to properly
         characterize, classify, categorize, or designate certain claims, assets, executory contracts,
         unexpired leases, and other items reported in the Schedules and Statements, the Debtors may
         nevertheless seek to recharacterize, reclassify, recategorize, redesignate, add, or delete items
         included in the Schedules and Statements, and the Debtors and their estates reserve all rights in
         this regard.

         Accounts Payable and Disbursement Systems. The Debtors maintain a cash management
         system (the “Cash Management System”) to collect and disburse funds in the ordinary course.
         A more complete description of the Cash Management System is set forth in the Debtors’ Motion
         for Interim and Final Orders, Pursuant to Sections 105(a), 345, 363, 364, 503(b), 1107(a) and
         1108 of the Bankruptcy Code, Bankruptcy Rule 2015, and Local Rule 2015-2, (A) Authorizing and
         Approving Continued Use of Cash Management System, (B) Authorizing Use of Prepetition Bank
         Accounts and Business Forms, (C) Authorizing Continued Performance of Intercompany
         Transactions in the Ordinary Course of Business and Granting Administrative Expense Status for
         Postpetition Intercompany Claims and Intercompany Loans, (D) Waiving the Requirements of
         Section 345(b) on an Interim Basis, and (E) Granting Certain Related Relief [Docket No. 11] filed
         on the Petition Date.
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         Insiders. For purposes of the Schedules and Statements, the Debtors define “insiders” pursuant
         to section 101(31) of the Bankruptcy Code as: (a) current or former directors, officers, or persons
         in control of the Debtors; (b) relatives of current or former directors, officers, or persons in control
         of the Debtors; (c) a partnership in which the Debtor is a general partner; or (d) an affiliate of the
         Debtors. Except as otherwise disclosed herein or in the Statements, payments to insiders listed in
         (a) through (d) above are set forth on Statement 4. Persons listed as “insiders” have been included
         for informational purposes only, and such listing is not intended to be, nor should it be construed
         as, a legal characterization of such person as an insider, nor does it serve as an admission of any
         fact, claim, right, or defense, and all such claims, rights, and defenses with respect thereto are
         hereby expressly reserved. Further, the Debtors and their estates do not take any position with
         respect to: (a) any such person’s influence over the control of the Debtors; (b) the management
         responsibilities or functions of any such individual; (c) the decision-making or corporate authority
         of any such individual; or (d) whether any such individual could successfully argue that he or she
         is not an “insider” under applicable law, including, without limitation, the federal securities laws,
         or with respect to any theories of liability or for any other purpose.

         Prior to the Petition Date, the Debtors engaged: Province, LLC (“Province”) to provide David M.
         Dunn to serve as the Debtors’ Chief Restructuring Officer. As such, Province and Mr. Dunn have
         been included on Statement 4.

         Summary of Significant Reporting Policies. The following is a summary of certain significant
         reporting policies:

                         a.      Current Market Value – Net Book Value. It would be prohibitively
         expensive, unduly burdensome, and an inefficient use of estate resources for the Debtors to obtain
         current market valuations for all estate assets. Accordingly, unless otherwise indicated herein or
         in the Schedules and Statements, the Schedules and Statements reflect the net book values, rather
         than current market values, of the Debtors’ assets as of the Petition Date (unless another date is
         indicated herein or in the Schedules and Statements), and may not reflect the net realizable value
         of such assets.

                         b.     First Day Orders. Pursuant to various “first day” orders and any
         supplements or amendments to such orders entered by the Court (each, a “First Day Order,” and
         collectively, the “First Day Orders”), the Debtors and their estates are authorized to pay certain
         pre-petition claims, including, without limitation, certain claims relating to employee wages and
         benefits, claims for taxes and fees, claims of vendors, claims related to customer programs, and
         claims related to insurance programs. The Debtors have not included certain claims of this nature
         in the Schedules and Statements to the extent that such claims were paid under the First Day
         Orders.

                         c.      Setoffs. To the extent the Debtors have incurred or effectuated any ordinary
         course setoffs with third parties (including, without limitation, customers and vendors) prior to the
         Petition Date, or are subject to the occurrence of, or maintain the right to effectuate, ordinary
         course setoffs on account of activities occurring prior to the Petition Date, such setoffs are excluded
         from the Schedules and Statements. The Debtors and their estates reserve all rights with respect
         to any such setoffs.

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                         d.       Credits and Adjustments. Claims of creditors are listed in the amounts
         entered on the Debtors’ books and records, and may not reflect certain credits, allowances or other
         adjustments due from such creditors to the Debtors. The Debtors and their estates reserve all rights
         with regard to any such credits, allowances, and other adjustments, including, without limitation,
         the right to assert claims, objections, setoffs, and recoupments with respect to the same.

                          e.      Leases. In the ordinary course of business, the Debtors lease certain
         equipment from certain third-party lessors for use in the maintenance of their business. Nothing
         in the Schedules and Statements is, or shall be construed as, an admission as to the determination
         of the legal status of any lease (including, without limitation, whether any lease is a true lease or a
         financing arrangement, and whether such lease is unexpired), and the Debtors and their estates
         reserve all rights with respect to such issues.

                        f.      Executory Contracts and Unexpired Leases. The Debtors have not set
         forth executory contracts and unexpired leases as assets in the Schedules and Statements, even
         though these contracts and leases may have some value to the Debtors’ estates. Rather, executory
         contracts and unexpired leases have been set forth solely on Schedule G. The Debtors’ rejection
         of executory contracts and unexpired leases may result in the assertion of rejection damages claims
         against the Debtors and their estates; however, the Schedules and Statements do not reflect any
         claims for rejection damages. The Debtors and their estates reserve all rights with respect to the
         assertion of any such claims.

         Unknown or Undetermined Amounts. Where a description of an amount is left blank or listed
         as “unknown” or “undetermined,” such response is not intended to reflect upon the materiality of
         such amount.

         Liabilities. The Debtors have sought to allocate liabilities between the prepetition and post-
         petition periods based on the information available at the time of filing the Schedules and
         Statements. If additional information becomes available or further research is conducted, the
         allocation of liabilities between the prepetition and post-petition periods may change.
         Accordingly, the Debtors and their estates reserve all rights to amend, supplement, or otherwise
         modify the Schedules and Statements as is necessary or appropriate.

         Estimates. The Debtors were required to make certain estimates and assumptions that affect the
         reported amounts of assets and liabilities and reported revenue and expenses. The Debtors and
         their estates reserve all rights to amend the reported amounts of assets, liabilities, revenue, and
         expenses to reflect changes in those estimates and assumptions.

         Classifications. Listing a claim (a) on Schedule D as “secured,” (b) on Schedule E/F as
         “unsecured priority,” or “unsecured non-priority,” or (c) listing a contract or lease on Schedule G
         as “executory” or “unexpired,” does not constitute an admission by the Debtors and their estates
         of the legal rights of any claimant, or a waiver of the rights of the Debtors and their estates to
         amend these Schedules and Statements to recharacterize or reclassify any claim or contract.

         Claims Description. The Debtors and their estates reserve all rights to dispute, and to assert any
         offsets or defenses to, any claim reflected on the applicable Schedule on any grounds, including,
         without limitation, amount, liability, validity, priority, or classification, and to subsequently
         designate any claim as “disputed,” “contingent,” or “unliquidated.”
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         Guaranties and Other Secondary Liability Claims. Guaranties and other secondary liability
         claims (collectively, the “Guaranties”) with respect to the Debtors’ contracts and leases may not
         be included on Schedule H. Therefore, the Debtors and their estates reserve all rights to amend
         the Schedules to the extent additional Guaranties are identified.

                                             NOTES FOR SCHEDULES

         Schedule A/B – Assets – Real and Personal Property. As set forth above, the Debtors and their
         estates are authorized to pay certain pre-petition claims pursuant to the First Day Orders.

         The Debtors maintain their books and records on an accrual basis. Accordingly, certain terms
         listed in Schedule A/B, Part 2, are listed in the Debtors’ books and records as prepayments or
         deposits, but are, in fact, payments made for certain future expenses or invoices.

         Despite their commercially reasonable efforts to identify all known assets, the Debtors may not
         have listed all of their respective causes of action or potential causes of action against third parties
         as assets in Schedule A/B, Part 11, Item 74, including, but not limited to, causes of action arising
         under the Bankruptcy Code or any other applicable laws (including, but not limited to, intellectual
         property laws). The Debtors and their estates reserve all rights with respect to any claims and
         causes of action that they may have (including, but not limited to, patent infringement), and neither
         these Global Notes nor the Schedules and Statements shall be deemed a waiver of any such claims
         and causes of actions, or in any way waive, prejudice, impair, or otherwise affect the assertion of
         such claims and causes of action.

         With respect to REO Properties owned as of the Petition Date, the value of the REO Property listed
         on Schedule A/B item 55 for the Debtor that owns the particular REO Property is calculated based
         on the unpaid debt associated with the mortgage on such property. Actual market value of such
         real property may vary.

         Intercompany receivables are not included on Schedule A/B item 11, and are instead included on
         A/B item 77 for each of the Debtors.

         Debtor Peer Street, Inc. is the parent of a consolidated tax group that includes all of the Debtors,
         except for Peer Street Opportunity Investors II, LP. Consequently, the Debtors maintain net
         operating losses from consolidated or combined tax filings made by Peer Street, Inc., and those
         net operating losses are only listed under Schedule A/B, Part 11, Item 72 for Peer Street, Inc. The
         Debtors reserve all rights to assert that the net operating losses are property of a different Debtor.
         Additionally, the net operating losses for the year 2022 are not included as they have yet to be
         calculated.

         Schedule D – Creditors Who Have Claims Secured by Property. Except as otherwise agreed
         pursuant to a stipulation, agreed order, or general order entered by the Court that is or becomes
         final, the Debtors and their estates reserve all rights to dispute or challenge the validity, perfection,
         or immunity from avoidance of any lien purported to be granted or perfected in any specific asset
         to a creditor listed on Schedule D of any of the Debtors. Moreover, although the Debtors may
         have scheduled claims of various creditors as secured claims for informational purposes, no current
         valuation of the Debtors’ assets in which such creditors may have a lien has been undertaken.
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         Except as otherwise agreed pursuant to a stipulation, agreed order, or general order entered by the
         Court that is or becomes final, the Debtors and their estates reserve all rights to dispute or challenge
         the secured nature of any such claim or the characterization of the structure of any transaction,
         document, or instrument related to any such claim. The descriptions provided in Schedule D are
         intended only to be a summary. Reference to the applicable loan agreements and related
         documents is necessary for a complete description of the collateral and the nature, extent, and
         priority of any liens. Nothing in these Global Notes or the Schedules and Statements shall be
         deemed a modification or interpretation of the terms of such agreements.

         In certain instances, a Debtor may be a co-obligor with respect to scheduled claims of other
         Debtors. No claim set forth on the Schedule D of any Debtor is intended to acknowledge claims
         of creditors that are or may be otherwise satisfied or discharged.

         The Debtors have included on Schedule D claims held by certain taxing authorities that are secured
         by a tax lien against REO properties owned by certain of the Debtors, notwithstanding a lack of
         recourse against the Debtor-entity that owns such property. Despite the scheduling of a taxing
         authority’s claim in this way, nothing in these Global Notes or the Schedules and Statements shall
         constitute an admission that the Debtors have personal liability for such claim or that the taxing
         authority has any recourse against any of the Debtors.

         The Debtors have not included on Schedule D all parties that may believe their claims are secured
         through setoff rights, deposits posted by, or on behalf of, the Debtors, inchoate statutory lien rights,
         or real property lessors, utility companies, and other parties that may hold security deposits.

         Except as specifically stated herein, utility companies and other parties that may hold security
         deposits have not been listed on Schedule D. The Debtors have not included parties that may
         believe their Claims are secured through setoff rights or inchoate statutory lien rights.

         Certain of the amounts listed for parties on Schedule D may not be reflective of any accrued and
         unpaid interest, prepayment premiums, and other similar fees or expenses that such parties may be
         entitled to, and are not reflective of any payments made by the Debtors subsequent to the Petition
         Date.

         Schedule E/F – Creditors Who Have Unsecured Claims.

         Part 2. Certain creditors listed on Part 2 of Schedule E/F may owe amounts to the Debtors;
         accordingly, the Debtors and their estates may have valid setoff and recoupment rights with respect
         to such amounts. Also, the amounts listed on Part 2 of Schedule E/F reflect known prepetition
         claims as of the Petition Date. Such amounts do not reflect any rights of setoff or recoupment that
         may be asserted by any creditors listed on Part 2 of Schedule E/F, and the Debtors and their estates
         reserve all rights to challenge any setoff and recoupment rights that may be asserted against them.
         The Debtors and their estates reserve all rights to dispute or challenge the validity, perfection, or
         immunity from avoidance of any lien purported to be perfected by a creditor listed on Part 2 of
         Schedule E/F.

         The Debtors have used commercially reasonable efforts to include all creditors on Part 2 of
         Schedule E/F. The amounts listed for liabilities on Schedule E/F may be exclusive of certain
         contingent and unliquidated amounts.
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         To the extent that they have been paid, the Debtors have not listed on Part 2 of Schedule E/F,
         among others, certain unsecured employee wage or benefit claims claims related to the Debtors’
         insurance programs for which the Debtors have been granted authority to pay pursuant to a First
         Day Order. The Debtors and their estates reserve their rights to dispute or challenge whether
         creditors listed on Schedule E/F are entitled to priority claims.

         Third parties should not anticipate that the relationship of aggregate asset values and aggregate
         liabilities set forth in the Schedules will reflect their ultimate recoveries in these chapter 11 cases.
         Actual assets and liabilities may deviate from the amounts shown in the Schedules due to various
         events that occur throughout the duration of these chapter 11 cases.

         As described below, Peer Street Funding LLC (“Funding LLC”) has identified on Schedule E/F
         claims that individual retail customers may have based on cash held in the Debtors’ FBO Retail
         Customer Account. The Debtors reserve the right to amend or remove these claims from Funding
         LLC’s Schedule E/F to the extent customers are later permitted to withdraw funds from the FBO
         Retail Customer Account.

         Customers who have purchased RWNs (also referred to as the “Pocket” product) through
         the Peer Street Platform have been identified on the schedules of Funding LLC. To allow
         claimants to reconcile their records with the Debtors’, the amount listed for each customer’s
         claim represents the customer’s initial cash investment in such notes, but the proper amount
         of each claim will be determined by the recovery on the underlying loans, and thus is subject
         to change.

         Customers who have purchased MPDNs (also referred to as the “fractional loan” product)
         through the Peer Street Platform have been identified on the schedules of Funding LLC. TO
         allow claimants to reconcile their records with the Debtors’, the amount listed for each
         customer’s claim represents the customer’s initial cash investment in such notes, but the
         proper amount of each claim will be determined by the recovery made on the underlying
         loans, and thus is subject to change.

         Customers who have purchased PDNs (also referred to as the “Portfolio” product) through
         the Peer Street Platform have been identified on the schedules of PS Portfolio – ST1, LLC.
         To allow claimants to reconcile their records with the Debtors’, the amount listed for each
         customer’s claim represents the customer’s initial cash investment in such notes, but the
         proper amount of each claim will be determined by the recovery made on the underlying
         loans and changes in Net Asset Value, and thus is subject to change.

         The Debtors expressly reserve the right to amend the amount set forth for any customer’s
         claim based on the amounts recovered on the underlying loans or for any other reason
         impacting the amount of such customer’s claim.

         Schedule G – Executory Contracts and Unexpired Leases. Although commercially reasonable
         efforts have been made to ensure the accuracy of Schedule G regarding executory contracts and
         unexpired leases, inadvertent errors, omissions, or over-inclusion may have occurred in preparing
         Schedule G. Omission of a contract, lease, or other agreement from Schedule G does not constitute
         an admission that such omitted contract, lease, or other agreement is not an executory contract or
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         unexpired lease. Schedule G may be amended at any time to add any omitted executory contracts,
         unexpired leases, and other agreements to which the Debtors are a party, including, without
         limitation, to add any that the Debtors did not list on Schedule G at this time. Likewise, the listing
         of an agreement on Schedule G does not constitute an admission that such agreement is an
         executory contract or unexpired lease, or that such agreement was in effect or unexpired on the
         Petition Date, or is valid or enforceable. The agreements listed on Schedule G may have expired,
         or may have been modified, amended, or supplemented from time to time by various amendments,
         restatements, waivers, estoppel certificates, letters and other documents, instruments, and
         agreements that may not be listed on Schedule G.

         Additionally, the Debtors maintain certain insurance programs. The Debtors and their estates
         reserve all rights in connection with such insurance programs.

         All rights, claims, and causes of action of the Debtors and their estates with respect to the
         agreements listed on Schedule G are hereby reserved and preserved. The Debtors and their estates
         hereby reserve all rights to: (a) dispute the validity, status, or enforceability of any agreements set
         forth on Schedule G; (b) dispute or challenge the characterization of the structure of any
         transaction, document, or instrument related to a creditor’s claim, including, but not limited to, the
         agreements listed on Schedule G; and (c) amend or supplement Schedule G, as necessary.

                                           NOTES FOR STATEMENTS

         Statements 3 and 4. Statement 3 includes any disbursement or other transfer made by the Debtors
         within 90 days prior to filing, except for those made to insiders or in connection with the
         bankruptcy, which are reflected on Statements 4 and 11, respectively. Statement 4 has been
         presented on a gross payment basis. Actual amounts received by the parties listed on Statement 4
         may differ based upon withholding and other tax obligations. Additionally, Funding LLC’s
         Statement 4 includes transfers of Funding LLC’s recoveries on the loans underlying the MPDNs,
         RWNs, and PDNs to the FBO Retail Customer Account on behalf of and for the benefit of Insiders
         of the Debtors.

         Statement 7. The Debtors and their estates reserve all rights, claims, and defenses with respect to
         all listed lawsuits and administrative proceedings (or potential lawsuits and administrative
         proceedings). The listing of any such lawsuits and proceedings shall not constitute an admission
         by the Debtors and their estates of any liabilities.

         Statement 21. Funding LLC receives funds from customers of the Peer Street Platform into a
         custodial bank account at Wells Fargo Bank, N.A. titled FBO (“for the benefit of”) Retail Clients
         (the “FBO Retail Customer Account”) pending investment direction from the customers (the
         “FBO Cash”). The Debtors assert that they do not have any equitable or beneficial ownership of
         the FBO Cash deposited into the FBO Retail Customer Account. Accordingly, Funding LLC’s
         Statement 21 identifies all of the cash held in the FBO Retail Customer Account. As described
         above, Funding LLC’s Schedule E/F specifies what the Debtors’ books and records reflect as each
         individual customer’s uninvested cash on the Peer Street Platform.




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         Disclosures concerning participation interests and payments on certain notes.

                 As described at Docket Nos. 3 (the “First Day Declaration”) and 257 (the “Bid
         Procedures Reply”), in the ordinary course of business, Debtor PS Funding, Inc. (“PSFI”) has
         sold loans and participations in loans to other Debtors. In addition, and also in the ordinary course
         of business, Debtors Warehouse I, Warehouse II, Opp Fund, and Funding LLC may have
         subsequently sold participations in loans that it owned to other Debtors. The chart below lists the
         aggregate amounts of such transactions in the one-year period prior to the Petition Date. The
         Debtors believe that this information may be responsive to Statements 4 and 30.

                                              Aggregate Amount Transacted in the last year by:
          Transaction      PSFI          Funding LLC Warehouse I     Warehouse II      Opp Fund     Portfolio
                                                                                                    LLC
          Sales of Loans                                                                            $2,047,286
          by PSFI
          Sales of                       $90,793,312   $89,994,733    $4,672,480      $32,273,256   $264,180
          Participations
          by PSFI
          Sales of         $167,879
          Participation
          by Funding
          LLC
          Sales of         $92,770,625
          Participation
          by Warehouse
          I
          Sales of         $4,672,479
          Participation
          by Warehouse
          II
          Sales of         $33,082,343
          Participation
          by Opp Fund

                The below chart identifies the payments made by PSFI to each of the Debtor-lenders on
         account of loans sold and participations in the one-year period prior to the Petition Date.
          Transaction                                                   Aggregate Amount
          PSFI to Warehouse I                                           $131,803,225
          PSFI to Warehouse II                                          $4,672,480
          PSFI to Funding LLC                                           $235,863,021
          PSFI to Portfolio                                             $2,088,324
          PSFI to OppFund                                               $51,234,224

                  As described in the First Day Declaration and Bid Procedures Reply, in the ordinary course
         of their respective businesses, Debtor Funding LLC made loans to Debtors Warehouse I and
         Warehouse II, and Debtor Opp Fund made loans to PSFI. The chart below lists the aggregate
         amounts of such transactions in the one-year period prior to the Petition Date. The Debtors believe
         that this information may be responsive to Statements 4 and 30. In the one year prior to the Petition
         Date, the following loan transactions took place.


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          Transaction                                                 Amounts Borrowed        Amounts Repaid
          Warehouse Loans from Funding LLC to Warehouse I             $27,837,936             $28,967,567
          Warehouse Loans from Funding LLC to Warehouse II            $1,380,299              $72,554
          OppFund Loan from Opp Fund to PSFI                          $32,642,965             $51,234,224

                 As described in the First Day Declaration and Bid Procedures Reply, Debtor Funding LLC
         issued to non-debtor third parties Mortgage Payment Dependent Notes (“MPDNs”) and
         Redeemable Warehouse Notes (“RWNs”) and Debtor Portfolio LLC issued Payment Dependent
         Notes (“PDNs”). More than 68,000 such notes were outstanding as of the Petition Date, and
         holders were entitled to monthly or quarterly payment of interest on such notes, and repayment of
         the principal amount at maturity or the redemption date, as applicable. Given the sheer volume of
         payments, the Debtors have not individually listed the amounts paid in the 90 day period prior to
         the Petition Date in response to Statement 3.

          Transaction                                                 Issuer                  Amount Paid
          Payments to Holders of MPDNs                                Funding LLC             $66,719,387
          Payments to Holders of RWNs                                 Funding LLC             $7,849,516
          Payments to Holders of PDNs                                 Portfolio LLC           $1,415,969




30629248.12

                                                             10
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  Fill in this information to identify the case:

  Debtor name: PSF Ohio, LLC

  United States Bankruptcy Court for the: District of Delaware
                                                                                                                                                    Check if this is an
  Case number: 23-10826
                                                                                                                                                    amended filing


Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                              04/22


The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and
case number (if known).

Part 1:   Income

1. Gross revenue from business
     None

 Identify the beginning and ending dates of the debtor’s fiscal year, which may be      Sources of revenue                                        Gross revenue
 a calendar year                                                                        Check all that apply                                      (before deductions and
                                                                                                                                                  exclusions)


From the beginning of           From                      to     Filing Date               Operating a business
the fiscal year to filing
date:                                                                                      Other




For prior year:                 From                      to                               Operating a business

                                                                                           Other




For the year before that:       From                      to                               Operating a business

                                                                                           Other




2. Non-business revenue
Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits, and royalties. List each
source and the gross revenue for each separately. Do not include revenue listed in line 1.
     None

                                                                                        Description of sources of revenue                         Gross revenue from
                                                                                                                                                  each source
                                                                                                                                                  (before deductions and
                                                                                                                                                  exclusions)

From the beginning of          From                       to     Filing Date
the fiscal year to filing
date:

For prior year:                From                       to



For the year before that:      From                       to
Debtor    PSF Ohio, LLC____________________________________________________________                   Case number (if known) 23-10826________________________________________
          Name
                                        Case 23-10815-LSS                   Doc 356              Filed 09/05/23            Page 13 of 23
  Part 2:    List Certain Transfers Made Before Filing for Bankruptcy

  3. Certain payments or transfers to creditors within 90 days before filing this case
  List payments or transfers - including expense reimbursements - to any creditor, other than regular employee compensation, within 90 days before filing this case unless the
  aggregate value of all property transferred to that creditor is less than $7,575. (This amount may be adjusted on 4/01/25 and every 3 years after that with respect to cases
  filed on or after the date of adjustment.)
         None

   Creditor’s name and address                                  Dates                            Total amount or value       Reasons for payment or transfer
                                                                                                                             Check all that apply

  3.1
                                                                                                                                 Secured debt

                                                                                                                                 Unsecured loan repayments

                                                                                                                                 Suppliers or vendors

                                                                                                                                 Services

                                                                                                                                 Other




  4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
  List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed or cosigned by an
  insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $7,575. (This amount may be adjusted on 4/01/25 and every 3
  years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments listed in line 3. Insiders include officers, directors, and anyone in
  control of a corporate debtor and their relatives; general partners of a partnership debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any
  managing agent of the debtor. 11 U.S.C. § 101(31).
         None

   Insider’s name and address                                   Dates                            Total amount or value       Reasons for payment or transfer

  4.1
                                                               1/25/2023                                   $57,280.00            Secured debt
            Peer Street Funding LLC
            840 Apollo St., Suite 100                                                                                            Unsecured loan repayments
            El Segundo, CA 90245
                                                                                                                                 Suppliers or vendors
            Relationship to debtor
                                                                                                                                 Services
            Affiliate
                                                                                                                                 Other

                                                                                                                            Intercompany Transfer

  5. Repossessions, foreclosures, and returns
  List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at a foreclosure sale,
  transferred by a deed in lieu of foreclosure, or returned to the seller.
  Do not include property listed in line 6.
         None

   Creditor’s name and address                                  Description of the property                                  Date                            Value of property

  5.1



  6. Setoffs
  List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account of the debtor without
  permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a debt.
         None

   Creditor’s name and address                                  Description of the action creditor took                      Date action was taken           Amount

  6.1


                                                               Last 4 digits of account number
Debtor    PSF Ohio, LLC____________________________________________________________                    Case number (if known) 23-10826________________________________________
          Name
                                         Case 23-10815-LSS                  Doc 356           Filed 09/05/23               Page 14 of 23
  Part 3:    Legal Actions or Assignments

  7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
  List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved in any capacity—within 1
  year before filing this case.
         None

   Case title                                     Nature of case                               Court or agency’s name and address                           Status of case

  7.1
            Name                                                                              Name                                                              Pending
                                                                                                                                                                On appeal
            Case number                                                                       Street                                                            Concluded

                                                                                              City                                  State   Zip



  8. Assignments and receivership
  List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a receiver, custodian, or
  other court-appointed officer within 1 year before filing this case.
         None

   Custodian’s name and address                                 Description of the property                                  Value

  8.1
            Custodian's name and address

                                                               Case title                                                    Court name and address
            Street                                                                                                           Name

                                                               Case number
            City                        State    Zip                                                                         Street

                                                               Date of order or assignment
                                                                                                                             City                               State       Zip



  Part 4:    Certain Gifts and Charitable Contributions

  9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of the gifts to that recipient is
  less than $1,000
         None

   Recipient’s name and address                                 Description of the gifts or contributions                    Dates given                    Value

  9.1
            Recipient's name


            Street


            City                        State    Zip


            Recipient’s relationship to debtor
Debtor    PSF Ohio, LLC____________________________________________________________                    Case number (if known) 23-10826________________________________________
          Name
                                       Case 23-10815-LSS                     Doc 356            Filed 09/05/23              Page 15 of 23
  Part 5:    Losses

  10. All losses from fire, theft, or other casualty within 1 year before filing this case
         None

   Description of the property lost and how the loss            Amount of payments received for the loss                     Date of loss                 Value of property lost
   occurred                                                     If you have received payments to cover the loss, for
                                                                example, from insurance, government
                                                                compensation, or tort liability, list the total received.
                                                                List unpaid claims on Official Form 106A/B
                                                                (Schedule A/B: Assets – Real and Personal
                                                                Property).

  10.1



  Part 6:    Certain Payments or Transfers

  11. Payments related to bankruptcy
  List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing of this case to another
  person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy relief, or filing a bankruptcy case.
         None

   Who was paid or who received the transfer?                   If not money, describe any property transferred              Dates                        Total amount or value

  11.1


            Email or website address


            Who made the payment, if not debtor?



  12. Self-settled trusts of which the debtor is a beneficiary
  List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case to a self-settled trust or
  similar device.
  Do not include transfers already listed on this statement.
         None

   Name of trust or device                                      Describe any property transferred                            Dates transfers were         Total amount or value
                                                                                                                             made

  12.1


            Trustee


  13. Transfers not already listed on this statement
  List any transfers of money or other propertyby sale, trade, or any other meansmade by the debtor or a person acting on behalf of the debtor within 2 years before the filing
  of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include both outright transfers and transfers made as
  security. Do not include gifts or transfers previously listed on this statement.
         None

   Who received transfer?                                       Description of property transferred or payments              Date transfer was            Total amount or value
                                                                received or debts paid in exchange                           made

  13.1


            Relationship to debtor
Debtor     PSF Ohio, LLC____________________________________________________________                        Case number (if known) 23-10826________________________________________
           Name
                                             Case 23-10815-LSS                Doc 356               Filed 09/05/23                  Page 16 of 23
  Part 7:      Previous Locations

  14. Previous addresses
  List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.
         Does not apply

   Address                                                                                                            Dates of occupancy

  14.1
              Street                                                                                                 From                              to
              2121 Park Place, Suite 250                                                                             1/27/2017                         6/26/2023

               City                                                 State             Zip
               El Segundo                                           CA                90245

  Part 8:      Health Care Bankruptcies

  15. Health Care bankruptcies
  Is the debtor primarily engaged in offering services and facilities for:
         diagnosing or treating injury, deformity, or disease, or

         providing any surgical, psychiatric, drug treatment, or obstetric care?

         No. Go to part 9.

         Yes. Fill in the information below.

   Facility name and address                                                       Nature of the business operation, including type of services the           If debtor provides
                                                                                   debtor provides                                                            meals and housing,
                                                                                                                                                              number of patients in
                                                                                                                                                              debtor's care

  15.1
              Street

                                                                                   Location where patient records are maintained(if different from facility   How are records kept?
               City                              State       Zip                   address). If electronic, identify any service provider                     Check all that apply:
                                                                                                                                                                   Electronically

                                                                                                                                                                   Paper

  Part 9:      Personally Identifiable Information

  16. Does the debtor collect and retain personally identifiable information of customers?

         No.

         Yes. State the nature of the information collected and retained.

                  Does the debtor have a privacy policy about that information?
                       No

                       Yes

  17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or profit-sharing plan made
  available by the debtor as an employee benefit?
         No. Go to Part 10.
         Yes. Does the debtor serve as plan administrator?
                       No. Go to Part 10.
                       Yes. Fill in below:
  Name of plan                                                                                     Employer identification number of the plan


  Has the plan been terminated?
         No

         Yes
Debtor    PSF Ohio, LLC____________________________________________________________                  Case number (if known) 23-10826________________________________________
          Name
                                     Case 23-10815-LSS                      Doc 356           Filed 09/05/23              Page 17 of 23
  Part 10:       Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

  18. Closed financial accounts
  Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold, moved, or transferred?
  Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses, cooperatives,
  associations, and other financial institutions.
         None

   Financial institution name and address                                      Last 4          Type of account               Date account was               Last balance before
                                                                               digits of                                     closed, sold, moved, or        closing or transfer
                                                                               account                                       transferred
                                                                               number

  18.1
             Name                                                                                 Checking

                                                                                                  Savings
             Street
                                                                                                  Money market

             City                             State       Zip                                     Brokerage

                                                                                                   Other




  19. Safe deposit boxes
  List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this case.
         None

   Depository institution name and address                      Names of anyone with access to it             Description of the contents                   Does debtor still have
                                                                                                                                                            it?

  19.1
             Name                                                                                                                                             No
                                                                Address
                                                                                                                                                              Yes
             Street


             City                    State     Zip



  20. Off-premises storage
  List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in which the debtor does
  business.
         None

   Facility name and address                                    Names of anyone with access to it             Description of the contents                   Does debtor still have
                                                                                                                                                            it?

  20.1
             Name                                                                                                                                             No
                                                                Address
                                                                                                                                                              Yes
             Street


             City                    State     Zip
Debtor    PSF Ohio, LLC____________________________________________________________                                Case number (if known) 23-10826________________________________________
          Name
                                            Case 23-10815-LSS                          Doc 356             Filed 09/05/23                 Page 18 of 23
  Part 11:       Property the Debtor Holds or Controls that the Debtor Does Not Own

  21. Property held for another
  List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do not list leased or rented
  property
         None

   Owner’s name and address                                              Location of the property                           Description of the property                        Value

  21.1



  Part 12:       Details About Environmental Information

  For the purpose of Part 12, the following definitions apply:
           Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the medium affected (air, land, water,
               or any other medium).


               Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly owned, operated, or utilized.

               Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a similarly harmful substance.

  Report all notices, releases, and proceedings known, regardless of when they occurred.

  22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders

         No.

         Yes. Provide details below.

   Case title                                           Court or agency name and address                                    Nature of the case                                 Status of case

  22.1
                                                        Name                                                                                                                       Pending
             Case Number
                                                                                                                                                                                   On appeal
                                                        Street
                                                                                                                                                                                   Concluded

                                                        City                                   State      Zip



  23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an environmental law?
         No

         Yes. Provide details below.

   Site name and address                                Governmental unit name and address                                  Environmental law, if known                        Date of notice

  23.1
              Name                                      Name


              Street                                    Street


               City               State   Zip           City                                   State      Zip
Debtor    PSF Ohio, LLC____________________________________________________________                Case number (if known) 23-10826________________________________________
          Name
                                          Case 23-10815-LSS               Doc 356           Filed 09/05/23              Page 19 of 23
  24. Has the debtor notified any governmental unit of any release of hazardous material?
         No

         Yes. Provide details below.

   Site name and address                        Governmental unit name and address                         Environmental law, if known                  Date of notice

  24.1
              Name                             Name


              Street                           Street


              City             State   Zip     City                              State     Zip



  Part 13:       Details About the Debtor's Business or Connections to Any Business

  25. Other businesses in which the debtor has or has had an interest
  List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case. Include this information even if
  already listed in the Schedules.

         None

   Business name and address                                  Describe the nature of the business                         Employer Identification number
                                                                                                                          Do not include Social Security number or ITIN.

  25.1
                                                                                                                          EIN

                                                                                                                          Dates business existed
                                                                                                                          From                         to



  26. Books, records, and financial statements
  26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
         None

   Name and address                                                                                                       Dates of service

  26a.1
                                                                                                                          From                         to
              Ellen Coleman                                                                                               1/28/2019                    Present
              840 Apollo St., Suite 100
              El Segundo, CA 90245


  26b. List all firms or individuals who have audited, compiled, or reviewed debtor's books of account and records or prepared a financial statement within 2 years before filing
  this case.
         None

   Name and address                                                                                                       Dates of service

  26b.1
                                                                                                                          From                         to
              Armanino LLP                                                                                                3/11/2015                    Present
              2700 Camino Ramon #350
              San Ramon, CA 94583
Debtor    PSF Ohio, LLC____________________________________________________________                Case number (if known) 23-10826________________________________________
          Name
                                        Case 23-10815-LSS                 Doc 356           Filed 09/05/23             Page 20 of 23
  26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.
         None

   Name and address                                                                                                       If any books of account and records are unavailable,
                                                                                                                          explain why

  26c.1

            Brian Chi
            840 Apollo St., Suite 100
            El Segundo, CA 90245


  26c.2

            Chris Kilkuts
            840 Apollo St., Suite 100
            El Segundo, CA 90245


  26c.3

            Davis Quan
            840 Apollo St., Suite 100
            El Segundo, CA 90245


  26c.4

            Ellen Coleman
            840 Apollo St., Suite 100
            El Segundo, CA 90245


  26c.5

            Eugene Molchan
            840 Apollo St., Suite 100
            El Segundo, CA 90245


  26c.6

            Jenna Kim
            840 Apollo St., Suite 100
            El Segundo, CA 90245


  26c.7

            Joki Kale
            840 Apollo St., Suite 100
            El Segundo, CA 90245


  26c.8

            Nadezda Travnikova
            840 Apollo St., Suite 100
            El Segundo, CA 90245


  26c.9

            Victor Jia
            840 Apollo St., Suite 100
            El Segundo, CA 90245
Debtor    PSF Ohio, LLC____________________________________________________________                  Case number (if known) 23-10826________________________________________
          Name
                                          Case 23-10815-LSS                Doc 356           Filed 09/05/23              Page 21 of 23
  26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial statement within 2 years before
  filing this case.
         None

   Name and address

  26d.1



  27. Inventories
  Have any inventories of the debtor’s property been taken within 2 years before filing this case?
         No

         Yes. Give the details about the two most recent inventories.

   Name of the person who supervised the taking of the inventory                             Date of inventory              The dollar amount and basis (cost, market, or other
                                                                                                                            basis) of each inventory

  28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people in control of the debtor at the
  time of the filing of this case.
   Name and Address                                                                          Position and nature of any interest           % of interest, if any

  28.1
                                                                                            Member                                        100%
              Peer Street Funding LLC
              840 Apollo St., Suite 100
              El Segundo, CA 90245


  28.2
                                                                                            President                                     N/A
              Brewster Johnson
              840 Apollo St., Suite 100
              El Segundo, CA 90245


  29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in control of the debtor, or
  shareholders in control of the debtor who no longer hold these positions?
         No

         Yes. Identify below.

   Name and Address                                                                          Position and nature of any interest           Period during which position or
                                                                                                                                           interest was held

  29.1
                                                                                                                                          From                     to



  30. Payments, distributions, or withdrawals credited or given to insiders
  Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses, loans, credits on loans,
  stock redemptions, and options exercised?
         No

         Yes. Identify below.

   Name and address of recipient                                              Amount of money or description and            Dates                         Reason for providing
                                                                              value of property                                                           the value

  30.1

              See Answers to SOFA 4



   Relationship To Debtor
Debtor    PSF Ohio, LLC____________________________________________________________             Case number (if known) 23-10826________________________________________
          Name
                                    Case 23-10815-LSS                   Doc 356           Filed 09/05/23            Page 22 of 23
  31.Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?
         No

         Yes. Identify below.

   Name of the parent corporation                                                                                       Employer Identification number of the parent
                                                                                                                        corporation

  31.1
           Peer Street, Inc.                                                                                          EIN         XX-XXXXXXX

  32.Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?
         No

         Yes. Identify below.

   Name of the pension fund                                                                                             Employer Identification number of the pension fund

  32.1
                                                                                                                      EIN
                                   Case 23-10815-LSS                        Doc 356             Filed 09/05/23             Page 23 of 23

Fill in this information to identify the case:

Debtor name: PSF Ohio, LLC

United States Bankruptcy Court for the: District of Delaware
                                                                                                                                                               Check if this is an
Case number: 23-10826
                                                                                                                                                               amended filing




WARNING - Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in connection with a bankruptcy case can result
in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.
I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true and correct.
I declare under penalty of perjury that the foregoing is true and correct.

Executed on
9/5/2023



/s/ David M. Dunn                                                                              David M. Dunn
Signature of individual signing on behalf of debtor                                            Printed name

Chief Restructuring Officer

Position or relationship to debtor


Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?

     No

     Yes
